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                        THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
CITIZENS FOR RESPONSIBILITY AND )
ETHICS IN WASHINGTON,               )
                                    )
                  Plaintiff,        )
v.                                  )
                                    )               Civil No. 1:22-cv-03025-RC
U.S. DEPARTMENT OF JUSTICE,         )
                                    )
                  Defendant.        )
____________________________________)

                                  JOINT STATUS REPORT

       Plaintiff Citizens for Responsibility and Ethics in Washington (“CREW”) filed this lawsuit

on October 6, 2022, against the United States Department of Justice (“DOJ”) under the Freedom

of Information Act (“FOIA”), 5 U.S.C. § 552. See Compl. at 1, ECF. No. 1. At issue are two

FOIA requests CREW submitted to DOJ on January 20, 2022, seeking records related to

complaints of professional misconduct by federal judges. See id. ¶¶ 1, 10-12.

       On November 10, 2022, DOJ filed its answer. ECF No. 5. On November 14, 2022, the

Court ordered the Parties to meet, confer, and jointly submit a proposed briefing schedule by

November 28, 2022. See Nov. 14, 2022 Minute Order. The Parties file a Joint Status Report, see

ECF No. 6, and the Court ordered that the parties submit another Joint Status Report on or before

February 7, 2023, see Nov. 28, 2022 Minute Order. The Parties have further conferred about

DOJ’s processing of CREW’s FOIA requests and provide the Court with the following updates:

       1.      On January 27, 2023, DOJ completed processing and produced to CREW all non-

exempt responsive records with respect to request F22-00033.




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       2.      DOJ’s search is complete with respect to request F22-00034. DOJ will make a

small initial production on or before February 21, 2023 to permit the Parties to have a productive

and informed discussion regarding an appropriate processing and production schedule for the

records responsive to this request.

       3.      Given the posture of the FOIA requests at issue and the Parties’ intentions to confer

and work together to resolve issues, the Parties do not yet know whether summary judgment

briefing will be necessary. Thus, the Parties respectfully propose that the Court defer entering a

briefing schedule at this time. The Parties further propose that they file a joint status report by

February 28, 2023, updating the Court on the status of the case.

Dated: February 7, 2023                              Respectfully submitted,

                                                     BRIAN D. NETTER
                                                     Deputy Assistant Attorney General
                                                     Civil Division

                                                     MARCIA BERMAN
                                                     Assistant Branch Director

                                                     /s/ Taylor Pitz
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